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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 21-3030                                                 September Term, 2020
                                                                      1:21-cr-00090-PLF-1
                                                       Filed On: July 9, 2021
United States of America,

              Appellee

       v.

Nathaniel J. Degrave, also known as Nathan
Degrave,

              Appellant


            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

       BEFORE:       Rogers, Millett, and Katsas, Circuit Judges

        This appeal was considered on the record from the United States District Court
for the District of Columbia and the memoranda filed by the parties. The court has
determined that the issues presented occasion no need for an opinion. See Fed. R.
App. P. 36; D.C. Cir. Rule 36(b). It is

       ORDERED AND ADJUDGED that the district court’s pretrial detention order,
entered May 6, 2021, be affirmed. The district court did not err in determining that
appellant is eligible to be detained pending trial under 18 U.S.C. § 3142(f)(2)(B) based
on a serious risk that appellant may obstruct or attempt to obstruct the judicial
proceeding. See United States v. Singleton, 182 F.3d 7, 12 (D.C. Cir. 1999) (“The
decision whether to hold a hearing occurs based on even less information than a
decision to detain or release.”).

       Additionally, the district court did not err when it identified a risk of violence as
one of the articulable threats that appellant’s release would pose. See United States v.
Munchel, 991 F.3d 1273, 1283 (D.C. Cir. 2021) (“[T]o order a defendant preventatively
detained, a court must identify an articulable threat posed by the defendant to an
individual or the community.”).

       Further, appellant has not shown that the district court clearly erred in concluding
that no condition or combination of conditions of release would reasonably assure the
safety of the community or the integrity of the underlying judicial proceeding. See
Munchel, 991 F.3d at 1282). As this court explained in Munchel, with regard to
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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 21-3030                                                September Term, 2020

January 6, “those who actually assaulted police officers and broke through windows,
doors, and barricades, and those who aided, conspired with, planned, or coordinated
such actions, are in a different category of dangerousness than those who cheered on
the violence or entered the Capitol after others cleared the way.” Id. at 1284. In
contrast to the appellants in Munchel, the district court here found that appellant
actually assaulted numerous police officers on multiple occasions, forcibly cleared the
way for others to enter the Capitol and to enter restricted spaces inside the Capitol, and
planned and coordinated with others to engage in violence on January 6. See United
States v. Worrell, 848 F. App’x 5, 6 (D.C. Cir. 2021). Additionally, the district court
found that since January 6, appellant has demonstrated a willingness to impede law
enforcement investigatory efforts by falsely telling the FBI after he was arrested that he
had not been at the Capitol, deleting social media messages relating to his conduct on
January 6, encouraging others to do the same, and communicating via an encrypted
messaging application about January 6. Moreover, the district court considered the
types of restrictive release conditions that appellant proposes on appeal, and appellant
has not shown that the district court's conclusion that such conditions would be
insufficient was clearly erroneous.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk




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